     Case 2:18-cr-00288-SVW Document 227 Filed 03/29/21 Page 1 of 10 Page ID #:986



1    TRACY L. WILKISON
     Acting United States Attorney
2    BRANDON D. FOX
     Assistant United States Attorney
3    Chief, Criminal Division
     ALEXANDER F. PORTER (Cal. Bar No. 258597)
4    VALERIE L. MAKAREWICZ (Cal. Bar No. 229637)
     Assistant United States Attorneys
5    Major Frauds Section
          1100 United States Courthouse
6         312 North Spring Street
          Los Angeles, California 90012
7         Telephone: (213) 894-0813/0756
          Facsimile: (213) 894-6269
8         E-mail:    alexander.porter2@usdoj.gov
                     valerie.makarewicz@usdoj.gov
9
     Attorneys for Plaintiff
10   UNITED STATES OF AMERICA
11                            UNITED STATES DISTRICT COURT
12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
13   UNITED STATES OF AMERICA,                No. CR 18-00288(A)-SVW

14               Plaintiff,                   GOVERNMENT’S SENTENCING POSITION;
                                              MEMORANDUM OF POINTS AND
15                    v.                      AUTHORITIES

16   LUCINE ILANGEZYAN,                       Hearing Date: April 12, 2021
                                              Hearing Time: 1:30 p.m.
17               Defendant.                   Location:     Courtroom of the
                                                            Hon. Stephen V.
18                                                          Wilson

19

20         Plaintiff United States of America, by and through its counsel
21   of record, the Acting United States Attorney for the Central District
22   of California and Assistant United States Attorneys Alexander F.
23   Porter and Valerie L. Makarewicz, hereby files its Sentencing
24   Position.
25         This Sentencing Position is based upon the attached memorandum
26   of points and authorities, the Presentence Investigation Report, the
27   files and records in this case, and such further evidence and
28   argument as the Court may permit.
     Case 2:18-cr-00288-SVW Document 227 Filed 03/29/21 Page 2 of 10 Page ID #:987



1     Dated: March 29, 2021                Respectfully submitted,

2                                          TRACY L. WILKISON
                                           Acting United States Attorney
3
                                           BRANDON D. FOX
4                                          Assistant United States Attorney
                                           Chief, Criminal Division
5

6                                                /s/
                                           ALEXANDER F. PORTER
7                                          VALERIE L. MAKAREWICZ
                                           Assistant United States Attorneys
8
                                           Attorneys for Plaintiff
9                                          UNITED STATES OF AMERICA
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                              2
     Case 2:18-cr-00288-SVW Document 227 Filed 03/29/21 Page 3 of 10 Page ID #:988



1                        MEMORANDUM OF POINTS AND AUTHORITIES

2    I.    INTRODUCTION

3          On November 18, 2020, defendant Lucine Ilangezyan pleaded guilty

4    to Count One of the First Superseding Indictment, which charged

5    defendant with conspiracy to commit health care fraud, in violation

6    of 18 U.S.C. § 1349.      Defendant was the insurance biller for R&R Med

7    Spa and Nu-Me Spa (collectively, the “Clinics”), and in that role,

8    defendant submitted a massive volume of fraudulent claims for

9    reimbursement to insurance companies for medical services that were
10   not provided to patients.       During the course of defendant’s
11   participation in the conspiracy, from January 2012 to April 2017,
12   defendant and her co-conspirators submitted approximately $20 million
13   in fraudulent claims to insurance companies and the insurance
14   companies paid approximately $8 million on those claims.
15         The government agrees with the Guidelines calculation in the
16   Presentence Investigation Report (“PSR”), which results in a total
17   offense level for defendant of 21.        In the plea agreement, the
18   government agreed to recommend a 2-level variance pursuant to the

19   sentencing factors under 18 U.S.C. § 3553(a), based on defendant’s

20   early acceptance of responsibility.        Accordingly, after applying this

21   2-level variance, which results in a total offense level of 19, and

22   based on the PSR’s finding that defendant is in Criminal History

23   Category I, defendant’s Guidelines range should be 30-37 months.                The

24   government is recommending a sentence at the low end of the range,

25   for a sentence of 30 months.       In addition, the Court should order

26   defendant to pay restitution to the insurance company victims in the

27   total amount of $7,991,406, as set forth below.

28
     Case 2:18-cr-00288-SVW Document 227 Filed 03/29/21 Page 4 of 10 Page ID #:989



1    II.   FACTUAL BACKGROUND

2          Defendant’s offense conduct is set forth in the factual basis of

3    the plea agreement.      Plea Agreement (“PA”) ¶ 11.      Defendant was the

4    insurance biller for the Clinics.        Id.   From January 2012 to April

5    2017, defendant conspired with her co-defendants to commit health

6    care fraud by submitting claims to health insurance companies for

7    services that were not provided to patients or were not medically

8    necessary.    Id.

9          Defendant knew that co-conspirator Roshanak Khadem and co-
10   conspirator Marina Sarkisyan would inform patients that if they
11   provided their health insurance information to the Clinics, the
12   patients could receive free or discounted cosmetic procedures,
13   including facials, laser hair removal, and Botox injections.              Id.
14   Defendant knew that co-conspirators Khadem and Sarkisyan would obtain

15   health insurance information from the patients and provide that

16   information to defendant.       Id.   Acting at the direction of co-

17   conspirator Khadem, defendant would then submit and cause to be

18   submitted false and fraudulent claims to the health insurance

19   companies for medical procedures that defendant knew were either not

20   actually provided to the patients or were not medically necessary.

21   Id.   Then, based on the amount that the health insurance companies

22   paid on those false and fraudulent claims, co-conspirators Khadem and

23   Sarkisyan would calculate an amount, which the co-conspirators

24   referred to as a “credit,” that the patients could use to receive

25   free or discounted cosmetic procedures from the Clinics.            Id.    The

26   patients would then come into the Clinics to receive the free or

27   discounted cosmetic procedures, which were often provided by co-

28   conspirator Roberto Mariano.       Id.

                                              2
     Case 2:18-cr-00288-SVW Document 227 Filed 03/29/21 Page 5 of 10 Page ID #:990



1          During the course of defendant’s participation in the

2    conspiracy, from January 2012 to April 2017, defendant and her co-

3    conspirators submitted and caused to be submitted $20,932,411 in

4    false and fraudulent claims to the health insurance companies and the

5    health insurance companies paid $7,991,406 on those false and

6    fraudulent claims.     Id.

7    III. GUIDELINES CALCULATION

8          The government submits that the offense level for defendant

9    under the Guidelines should be calculated as follows.           These
10   calculations are consistent with the plea agreement and the PSR.
11       Base Offense Level:                     6       U.S.S.G. § 2B1.1(a)(2)

12       Loss more than $9.5 million,
         less than $25 million (based
13       on billed amount of
         $20,932,411):                       +20      U.S.S.G. § 2B1.1(b)(1)(K)
14
         Minor Role:                          -2             U.S.S.G. § 3B1.2(b)
15
         Acceptance of Responsibility:        -3                U.S.S.G. § 3E1.1
16
         Total Offense Level:                 21
17

18
     The parties do not have an agreement regarding defendant’s criminal
19
     history category.     PA ¶ 15.    Probation has determined that defendant
20
     falls within criminal history category I.         PSR ¶ 53.
21
           A.    The Loss Enhancement Should Be Based On The Total Amount
22               Billed

23         The loss amount for defendant is based on the fraudulent

24   billings that defendant admitted were submitted to the health

25   insurance companies: $20,932,411 billed and based on those fraudulent

26   billings the health insurance companies paid $7,991,406.            PA, at pg.

27   10:6-11.    Pursuant to United States v. Popov, 742 F.3d 911, 915 (9th

28   Cir. 2014), the total amount of the fraudulent billings is the

                                             3
     Case 2:18-cr-00288-SVW Document 227 Filed 03/29/21 Page 6 of 10 Page ID #:991



1    presumptive amount of the loss, unless the defendant can rebut the

2    presumption and establish that she only intended to defraud the

3    insurance companies based on the amount that they actually paid.                In

4    defendant’s case, defendant has not rebutted the presumption under

5    Popov.     As a result, the government agrees with the PSR that the

6    total billed amount of $20,932,411 is the appropriate amount to be

7    used in determining defendant’s intended loss.          PSR ¶ 38.    This

8    amount results in a loss enhancement of +20.

9          B.    A Two-Level Minor Role Departure Is Appropriate For
                 Defendant
10
           The parties have agreed to a 2-level minor role departure for
11
     defendant pursuant to U.S.S.G. § 3B1.2(b).         Application Note 3(A)
12
     says: “[A] defendant who is accountable . . . for a loss amount under
13
     2B1.1 . . . that greatly exceeds the defendant’s personal gain from a
14
     fraud offense or who had limited knowledge of the scope of the scheme
15
     may receive an adjustment under this guideline.”          Here, defendant did
16
     not have limited knowledge of the scope of the scheme – she was the
17
     biller for the Clinics and so she knew the volume of fraudulent
18
     claims that the Clinics were submitting to the health insurance
19
     companies.    However, the loss amount did greatly exceed defendant’s
20
     personal gain from the fraud.       Unlike defendant’s other co-
21
     conspirators, defendant did not receive a percentage of the billings
22
     that were paid from the insurance companies.          Defendant was paid a
23
     smaller amount than her co-conspirators, and therefore the parties
24
     have agreed that a 2-level minor role departure is appropriate for
25
     defendant.
26

27

28

                                             4
     Case 2:18-cr-00288-SVW Document 227 Filed 03/29/21 Page 7 of 10 Page ID #:992



1    IV.   RESTITUTION

2          Restitution is mandatory in this case because defendant’s

3    conviction for conspiracy to commit health care fraud, in violation

4    of 18 U.S.C. § 1349, is an offense against property involving fraud

5    or deceit.    See 18 U.S.C. § 3663A(c)(1)(A)(ii).        In the plea

6    agreement, defendant agreed to pay restitution in the amount of

7    $7,991,406.    PA ¶ 7.    Pursuant to the terms of the plea agreement,

8    and consistent with the PSR, defendant should be ordered to pay

9    restitution to health insurance companies in the total amount of
10   $7,991,406, as follows:
11    Anthem Blue Cross                     $5,332,220
12    International Longshore and           $1,869,945
      Warehouse Union – Pacific
13    Maritime Association Benefit
      Plan
14    Blue Shield of California             $520,087
15
      Federal Employees Health              $185,611
16    Benefit Plan
      CIGNA Health Management               $83,543
17

18
     V.    UNDER THE SECTION 3553(a) FACTORS, DEFENDANT’S CONVICTION MERITS
19         A SENTENCE OF 30 MONTHS’ IMPRISONMENT

20         Based on the Guideline factors discussed above, defendant’s

21   total offense level is 21.       In the plea agreement, the government

22   agreed to recommend a 2-level variance pursuant to the sentencing

23   factors under 18 U.S.C. § 3553(a).          PA ¶ 14.   This variance is based

24   on the fact that due to the COVID-19 pandemic, the justice system is

25   facing an unprecedented crisis through a backlog of cases, and the 2-

26   level variance recognizes that defendant’s early acceptance of

27   responsibility will lessen the burden on the court system because

28   defendant has agreed to proceed with her guilty plea and sentencing

                                             5
     Case 2:18-cr-00288-SVW Document 227 Filed 03/29/21 Page 8 of 10 Page ID #:993



1    hearings by VTC and to waive all appellate rights.           Id.   Based on

2    these circumstances, the government submits that a 2-level variance

3    is appropriate for defendant.       After application of this variance,

4    defendant’s total offense level should be 19, and the government is

5    recommending a sentence at the low end of the Guideline range, for a

6    sentence of 30 months in prison.        The government submits that a 30-

7    month sentence is appropriate for defendant.

8          A.    Nature and Circumstances of the Offense

9          Defendant’s crime was serious.        Defendant participated in a
10   health care fraud conspiracy that resulted in fraudulent billings to
11   health insurance companies of more than $20 million, with the
12   insurance companies paying approximately $8 million.           Defendant was
13   the insurance biller for the Clinics and she admitted in the factual
14   basis of her plea agreement that she knew was submitting false and
15   fraudulent claims to the health insurance companies for medical
16   procedures that defendant knew were either not actually provided to
17   the patients, or were not medically necessary.          PA, at pg. 9:21-25.
18   In addition, defendant operated this scheme for more than five years,

19   from January 2012 to April 2017.        Id. at pg. 8:25-28.     The long-

20   running nature of this scheme shows that defendant’s crime was

21   serious.

22         Fraud schemes like the one in this case that target health care

23   insurance programs have the result of increasing the cost of health

24   care services to everyone.       By injecting fraud into the system, these

25   schemes contribute to the extraordinarily high cost of health care in

26   the United States.     Thus, defendant’s crime in this case is

27   undoubtedly serious and are worthy of punishment.

28

                                             6
     Case 2:18-cr-00288-SVW Document 227 Filed 03/29/21 Page 9 of 10 Page ID #:994



1          Based on these facts, the government submits that a sentence of

2    30 months is appropriate for defendant.

3          B.    History and Characteristics of Defendant

4          Although defendant does not have a criminal history that affects

5    her criminal history calculation under the Guidelines, the PSR notes

6    that defendant and her husband were arrested in 2006 after a traffic

7    stop where the police officers found marijuana, Xanax pills, and

8    heroin in a concealed cigarette box.        PSR ¶ 56.    The police officers

9    also found in defendant’s purse a box full of .223 caliber
10   ammunition.    Id.
11         Defendant has four children, but the PSR indicates that

12   defendant lives with her husband and her mother-in-law.            Id. ¶ 65.

13   Defendant’s sister also lives in the Los Angeles area.           Id. ¶ 64.

14   Thus, there appear to be other caretakers who can care for

15   defendant’s children while defendant serves her custodial sentence in

16   this case.

17         C.    Deterrence, Promoting Respect for the Law, and Punishing
                 Defendant for Her Crime
18
           A sentence of 30 months is appropriate to deter defendant and
19
     others from engaging in similar illegal conduct.          Individuals who are
20
     engaged in fraud schemes like this one that target health insurance
21
     plans, often make a calculated decision that the risk of being
22
     caught, and being punished, is worth the illicit proceeds that they
23
     can obtain through the fraud scheme.        A sentence of 30 months will
24
     serve to affect that calculus and cause defendant and other
25
     individuals to decide that the money they can gain through such
26
     schemes is not worth the risk of incarceration.
27

28

                                             7
     Case 2:18-cr-00288-SVW Document 227 Filed 03/29/21 Page 10 of 10 Page ID #:995



1           Furthermore, a sentence of 30 months will promote respect for

2     the law and will adequately punish defendant for her participation

3     for more than five years in a scheme that resulted in fraudulent

4     claims of more than $20 million being submitted to health insurance

5     programs.

6     VI.   CONCLUSION

7           For the foregoing reasons, the government respectfully requests

8     that this Court impose a sentence of: (1) 30 months’ imprisonment;

9     (2) a three-year period of supervised release; (3) restitution in the
10    total amount of $7,991,406, as described above; and (4) a mandatory
11    special assessment of $100.
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                              8
